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13
                        UNITED STATES DISTRICT COURT
14                     EASTERN DISTRICT OF WASHINGTON

15
     STORMSMEDIA, LLC,                           CASE NO.: 2:17-cv-00438-SMJ
16
                Plaintiff,                       CLASS ACTION
17
          v.                                     JOINT STIPULATION
18                                               REGARDING PLAINTIFF’S
     GIGA WATT, INC., et al.,                    VOLUNTARY DISMISSAL
19
                Defendants.
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24 JOINT STIPULATION REGARDING
   PLAINTIFF’S VOLUNTARY
   DISMISSAL
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 1            Plaintiff Stormsmedia, LLC (“Stormsmedia”) and Defendants Giga Watt,

 2 Inc. and GigaWatt Pte., Ltd. (collectively, “Giga Watt”), by and through their
 3 attorneys of record, hereby stipulate to and respectfully request that the Court enter

 4 an order closing the above-captioned matter and dismissing the action with

 5 prejudice as to Plaintiff and without prejudice as to the proposed class.

 6            Plaintiff has settled and released its individual claims against Defendants

 7 and no longer has standing to pursue the class claims herein. Because the proposed

 8 class has not been certified and because no proposed class members will be bound

 9 by or prejudiced by the dismissal of the proposed class claims, dismissal of the

10 action is appropriate.

11       I.       STATEMENT OF RELEVANT FACTS AND PROCEEDINGS

12            Plaintiff filed this action on December 28, 2017, alleging claims for

13 rescission of contract and violations of Sections 5(a) and 5(c) of the Securities Act

14 of 1933, 15 U.S.C. §§ 77e(a) and 77e(c), on behalf of itself and a proposed class of

15 investors who purchased Giga Watt Project Tokens (“WTT”) during Giga Watt’s

16 initial coin offering. There have been no substantive pleadings in this action, and

17 the proposed class has not been certified.

18            Between July 17, 2017, and August 2, 2017, Plaintiff purchased from Giga

19 Watt, in connection with Giga Watt’s initial coin offering, 362,122 WTT, 154 D3

20 Bitmain Servers (“Miners”), and related power supply units in exchange for

21 332.61230901 bitcoin and 319.994542 Ether having a total dollar value (at the time

22 of purchase) of $953,319.55 (“Purchase Price”). On December 19, 2017, Giga

23 Watt provided to Plaintiff 362,122 WTT. On December 21, 2017, Giga Watt also

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 1 provided to Stormsmedia 120 Bitmain D3 Servers, and on December 23, 2017,

 2 Giga Watt provided Stormsmedia the remaining 34 Bitmain D3 servers.
 3         On January 14, 2018, after arm’s length negotiations, the parties agreed that

 4 an amicable resolution of Plaintiff’s dispute would be preferable to litigation, and

 5 that Plaintiff would accept Defendants’ offer of a refund of the Purchase Price, in

 6 U.S. dollars, in exchange for Plaintiff’s return of the WTT, Miners, related power

 7 supply units acquired in its purchase, and any cryptocurrency mined by the Miners.

 8 On January 15, 2018, the parties executed a settlement agreement (the “Settlement

 9 Agreement”) to this effect, releasing all of Plaintiff’s individual claims against

10 Defendants.

11             II.   DISMISSAL OF THIS ACTION IS APPROPRIATE

12         Pursuant to the Settlement Agreement, the parties now respectfully request

13 that the Court dismiss this action with prejudice as to Plaintiff and without

14 prejudice as to the proposed class.

15         As the proposed class has not been certified and the Settlement Agreement

16 does not resolve or bar claims from proposed class members, the Court approval of

17 Plaintiff’s voluntary dismissal is not required under Federal Rule of Civil

18 Procedure 23(e), which provides that “[t]he claims, issues, or defenses of a

19 certified class may be settled, voluntarily dismissed, or compromised only with the

20 court's approval” (emphasis added).

21         The parties respectfully submit that Rule 23 was amended in 2003 to make

22 clear that court approval of settlement, voluntary dismissal, or compromise, as well

23 as Rule 23(e)’s hearing and notice requirements, is required only for certified

24 JOINT STIPULATION REGARDING
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 1 classes. A hearing is required only “[i]f the proposal would bind class members,”

 2 and notice need only be provided to those class members who are so bound. Fed.
 3 R. Civ. P. 23(e)(1), (2). Because the settlement of Plaintiff’s individual claims

 4 does not bind absent class members, the requirements of Rule 23(e) do not apply to

 5 the settlement here. See Jou v. Kimberly-Clark Corp., No. 13-cv-03075-JSC, 2015

 6 WL 4537533, at *5 (N.D. Cal. July 27, 2015) (noting that Rule 23(e) has been

 7 amended to clarify that no notice to the putative class is required); see also Mahan

 8 v. Trex Co., Inc., No. 5:09-CV-00670 JF PVT, 2010 WL 4916417, at *2 (N.D. Cal.

 9 Nov. 22, 2010) (“[S]ubsequent to the amendment of Rule 23 in 2003 . . . [t]he new

10 rule requires approval only if the claims, issues, or defenses of a certified class are

11 resolved by a settlement, voluntary dismissal or compromise.”) (emphasis
12 added). Consequently, this Court’s approval of this dismissal is not necessary.

13         In addition, the voluntary dismissal satisfies the requirements of Diaz v.

14 Trust Territory of the Pac. Islands, 876 F.2d 1401 (9th Cir. 1989). In Diaz, which

15 was decided in 1989, before the 2003 amendments to Rule 23(e), the Ninth Circuit

16 held that Rule 23(e) applied even at the pre-certification stage. For the reasons

17 stated above, the parties submit that Diaz has been superseded by the 2003 changes

18 to Rule 23(e). In any event, the voluntary dismissal here meets the Diaz test:

19       [T]he district court should inquire into possible prejudice from (1) class
         members' possible reliance on the filing of the action if they are likely to
20       know of it either because of publicity or other circumstances, (2) lack of
21       adequate time for class members to file other actions, because of a rapidly
         approaching statute of limitations, and (3) any settlement or concession
22       for class interests made by the class representative or counsel in order to
         further his own interests.
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24 JOINT STIPULATION REGARDING
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 1 Diaz, 876 F.2d at 1408. Here, all three elements are met, as discussed below.

 2 A.      Proposed Class Members Have Not Relied on These Class Claims

 3         The timing of this voluntary dismissal – only weeks after Plaintiff’s filing of

 4 this action – makes it unlikely proposed class members have relied on this lawsuit

 5 to their detriment. See Wallace v. Universal Fid. LP, No. C13-0437JLR, 2013

 6 U.S. Dist. LEXIS 145189, at *2 (W.D. Wash. Sep. 28, 2013) (crediting the “very

 7 early stage” of the settlement in finding that the first Diaz factor was met).

 8 Relatedly, neither this Court nor any party or counsel has issued any notice to

 9 members of the proposed class. Id. (further crediting “absence of previous notice

10 to class members”); see also Declaration of Beth E. Terrell in Support of Joint

11 Stipulation and [Proposed] Order Regarding Plaintiff’s Voluntary Dismissal
12 (“Terrell Dec.”) ¶ 2. The coverage of this case has been limited to online blogs

13 following cryptocurrency issues.

14         Accordingly, proposed class members could not have relied on this case.

15 See Wallace, 2013 U.S. Dist. LEXIS 145189, at *2-3 (noting lack of “any

16 indication of widespread publicity”); see also Houston v. Cintas Corp., No. C 05-

17 3145 JSW, 2009 U.S. Dist. LEXIS 33704, at *5 (N.D. Cal. April 3, 2009)

18 (approving settlement and dismissal without notice; “although there has been some

19 publicity regarding this case and articles in which some of the Plaintiffs were

20 mentioned by name, it has been minimal.”).

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     B.     Proposed Class Members Will Not be Prejudiced by Any Rapidly
 1          Approaching Statute of Limitations
 2          The proposed class’ claims regarding alleged Securities Act violations
 3 implicate a three-year statute of limitations beginning from the time of the putative

 4 class members’ purchase of WTT through Giga Watt’s initial coin offering. 15

 5 U.S.C. § 77m. Under Washington law, claims for recission of a written contract

 6 have a six-year statute of limitations. RCW 4.16.040. Such claims arose, at the

 7 earliest, on May 19, 2017, the beginning of the pre-sale period for Defendants’

 8 initial coin offering. With more than two years remaining on the statute of

 9 limitations for such claims, proposed class members have ample time to bring

10 another action. See Tombline v. Wells Fargo Bank, N.A., No. 13-cv-04567-JD,

11 2014 U.S. Dist. LEXIS 145556, at *7 (N.D. Cal. Oct. 10, 2014) (finding second
12 Diaz factor satisfied where “parties state that a bar is not about to fall under an

13 imminent limitations period”). Additionally, as this present action has lasted mere

14 weeks, its effect on the statute of limitations has been negligible. See Echevarria

15 v. AccentCare, Inc., No. 15-cv-00676-EDL, 2015 U.S. Dist. LEXIS 52425, at *7

16 (N.D. Cal. Apr. 20, 2015) (“given this litigation was only pending for two months,

17 it is unclear whether any or how many class members’ [] claims would be barred

18 by the statute of limitations”).

19 C.       Plaintiff Has Not Made Any Concession of Proposed Class Interests to
20          Further Its Own Interests
            Finally, because Plaintiff seeks to dismiss the claims of the proposed class
21
     without prejudice, the “rights or claims of the putative [collective] members are not
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1 compromised.” Gonzalez v. Fallanghina, LLC, No. 16-cv-01832-MEJ, 2017 U.S.

2 Dist. LEXIS 58430, at *16 (N.D. Cal. Apr. 17, 2017) (citation omitted).
3                                    III.   CONCLUSION

4            For the forgoing reasons, the parties respectfully request that this Court enter

5 an order closing this matter and dismissing this action with prejudice as to Plaintiff

6 and without prejudice as to the proposed class.

7            The parties respectfully enclose below a proposed order to such effect.

8            RESPECTFULLY SUBMITTED AND DATED this 19th day of January
     2018.
9

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24 JOINT STIPULATION REGARDING
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24 JOINT STIPULATION REGARDING
   PLAINTIFF’S VOLUNTARY
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                              CERTIFICATE OF SERVICE
1
          I, Beth E. Terrell, hereby certify that on January 19, 2018, I electronically
2
3 filed the foregoing with the Clerk of the Court using the CM/ECF system which

4 will send notification of such filing to the following:

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12
          DATED this 19th day of January, 2018.
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24 JOINT STIPULATION REGARDING
   PLAINTIFF’S VOLUNTARY
   DISMISSAL - 8
